AO 93C (08/18) Warrant by Telephone or Other Reliable Electronic Means (Page 2)

 

 

 

 

Return
Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
3:20MJ318 VW/13/2020 @ 7:05 Py tA Resbenee

 

Inventory made in the presence of : lf

 

Inventory of the property taken and name(s) of any person(s) seized:

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Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date: (1 o ZLAEES

Executing officer's signature

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AO 93C (08/18) Warrant by Telephone or Other Reliable Electronic Means Oo Original o Duplicate Original

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

5052 WAGNER FORD ROAD
HARRISON TOWNSHIP, OHIO
INCLUDING ALL OUTBUILDINGS AND CURTILAGE

Case No. 3:20MJ318

)
WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search and seizure
of the following person or property located in the Southern District of Ohio
(identify the person or describe the property to be searched and give its location):

SEE ATTACHMENT A

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the praperty to be seized):

SEE ATTACHMENT B

YOU ARE COMMANDED to execute this warrant on or before July 26, 2020 (not to exceed 14 days)
@ in the daytime 6:00 a.m. to 10:00 p.m. Oat any time in the day or night because good cause has been established.

 

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to Sharon L. Ovington
(United States Magistrate Judge)

 

O Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

O for days (not to exceed 30) © until, the facts justifying, the later specific date of

 

Date and time issued: 97/13/2020 5:22 pm

 

 

"2's signature

 

 

name and title

City and state: DAYTON, OHIO (hese bs Og U.S. MAGISTRATE JUDGE
ATTACHMENT A

5052 WAGNER FORD ROAD, HARRISON TOWNSHIP, OHIO is described as a single
family residence with red brick on the exterior and a detached garage.

 
ATTACHMENT B
ITEMS TO BE SEIZED

I respectfully submit that there is probable cause to believe that the following items will

be found at this premises:

A.

B.

Any and all controlled substances and related narcotics paraphernalia;
Cellular telephones and pagers;

Correspondence, books, records, receipts, notes, ledgers, and other papers relating to the
transportation, ordering, purchase and sale of firearms and ammunition;

Indicia of occupancy, residency, rental and/or ownership of the premises described herein,
including, but not limited to mail, utility and telephone bills, cancelled envelopes, rental,
purchase or lease agreements;

Firearms, ammunition and any records or receipts pertaining to firearms and ammunition;
Any and all stored electronic data (i.e., CD or DVD), video and/or audio maintained and

generated by any and all surveillance video camera systems installed both inside and
outside subject premises installed at 5052 Wagner Ford Road, Harrison Township, Ohio.
 

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Items seized during execution of search warrant at_ 403.7 Whac nas Yo eel
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officer(s):

SEARCH WARRANT INVENTORY

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ITEM #

LOCATION FOUND

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FOUND BY

 

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Signature:

Date:

 

 

Witness:

Date/Time Executed:

 

F613, New 02/07
BBRW

 
SEARCH WARRANT INVENTORY

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Items seized during execution of search warrant at__ 2X5.) wagner Core

officer(s):

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. Inventory conducted by

 

 

LOCATION FOUND

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Date:

 

Signature:

Witness:

 

Date/Time Executed:

 

F613, New 02/07
GIBRW

 
